b.

ease 2:04-cr-2o461-BBD Documem 36 Filed 03/23/05 Page 1 of 6 Pégéi

UN|TED STATES DlSTRlCT COURT Fll.ED BY _.__ D.C.
WESTERN DlSTRlCT OF TENNESSEE
MEMPHls DlvlsloN 05 AUG 23 AH 6= 53
UN|TED STATES OF AMER|CA THUMS Ni. GOU_D
.v- 2;04CR20461.01.D WzD Oi~ in r-.,ii:i~ilPHlS
MEL|SHA FRANCESCA FlCKLlN

Apri| R. Goode, FPD
Defense Attorney

200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on lVlay 31, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense:

Date Count
Title & Section MDY offense M
Concluded
18 U.S.C. § 472 Uttering Counterfeit Obligations or 04/04/2004 1

Securities

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 10/24/1978 August 22, 2005
Deft’s U.S. N|arshal No.: 08572-043

Defendant’s |Vlai|ing Address:
29 W. Gage Ave.
lVlemphis, TN 38109

  
  

 

BERNICE' B. DoNALD
uNnED sTATEs DlsTRlcT JquE

August 2,2 , 2005

This document entered on the docket shelt |n compliance 5 2
f
with Fiuie 55 and/or 32(b) FHCrP on 8'92, §’O_J

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Case No: 2;04CR20461-01-D Defendant Name: Meiisha Francesca Ficklin Page 2 of 5
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 30 Days. incarceration shall be deferred until July
2006.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States Marshai.

RETURN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. iViarsha|

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Case No: 2;04CR20461-01-D Defendant Name: Melisha Francesca Fickiin Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federall state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation ocher;

2. The defendant shall report to the probation officer as directed by the court or probation ofhcer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl used,
distributedl or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation ofiicer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofticer;

9. The defendant shall notify the probation ofiicer within 72 hours of being arrested or questioned by a

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Case No: 2;04CR20461-01»D Defendant Name: Melisha Francesca Fickiin Page 4 of 5
law enforcement officer;

10. The defendant shall not enter into any agreement to act as an informer or a speciai agent of a law
enforcement agency without the permission of the court;

11. As directed b y the p robation officer, the d efendant s hall n otify third parties of risks that m ay b e
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation ocher to make such notifications and to confirm the defendant's compliance with such
notification requirement

12. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such Hne or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Nlonetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. Participate in the Home Detention program for a period of 6 Months. During this time,
defendant will remain at defendants place of residence except for employment and other
activities approved in advance by the defendants Probation Officer. Defendant will be
subject to the standard conditions of Home Detention adopted for use in the Western District
of Tennessee, which may include the requirement to wear an electronic monitoring device
and to follow electronic monitoring procedures specihed by the Probation Officer. Further,
the defendant shall be required to contribute to the costs of services for such monitoring not
to exceed an amountdetermined reasonable by the F’robation Officer based on ability to pay
(or availability of third party payment) and in conformance with the Probation Office’s S|iding
Scaie for Eiectronic Nionitoring Services.

2. Partici pate in substance abuse testing and treatment programs as directed by the Probation
Officer.
3. Participate in mental health counseling as directed by the Probation Officer.

4. Cooperate with DNA collection as directed by the Probation Officer.

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Case No: 2;04CR20461-O1-D Defendant Name: Meiisha Francesca Fickiin Page 5 of 5

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Aii of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Tota| Fine Total Restitution

$100.00 $500.00
The Specia| Assessment shall be due immediately

FlNE

A Fine in the amount of $ 500.00 is imposed. Fine shall be paid in full within the
period of supervision.

REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CR-20461 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DlSTRlCT COURT

